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Binance.US
Seed Round Pitch Deck

September 2021
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that such present and future operations will or may produce revenues, income or profits. In evaluating these forward-looking statements, you should consider various
factors, including those described in this Presentation under the heading "Risks and Mitigation Strategies" on page 31. These and other factors may cause our actual
results to differ materially from any forward-looking statement. We caution you not to place undue reliance on these forward-looking statements. Although we base
these forward-looking statements on our expectations, assumptions and projections about future events, actual events and results may differ materially, and our
expectations, assumptions and projections may prove to be inaccurate.
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1.   Introduction
2.   Current Product Offering
3.   Binance.US by the Numbers
4.   Future Growth Initiatives and Seed Round
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Introduction
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      History                                                                                      CONFIDENTIAL   5




Binance.COM is one of the fastest growing companies in history!

                                                       Despite being four years old, Binance.COM
                                                       has already reached >$1 billion in PROFIT




        165 Days from Launch to World’s Largest Crypto Exchange.
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            History                                                                                                    CONFIDENTIAL     6




Binance.COM’s achievements are incredible and unprecedented



Largest Fiat-to-             Largest Futures                             Largest NFT                     Most Visited
crypto Exchange              Exchange                                    Marketplace                     Websites in Crypto
Binance leads the industry   Binance Futures commands                    Artists, creators, and crypto   CMC & Binance.com have more
with ~70% market share       >50% global market share                    enthusiasts together on a       monthly visits than Forbes, WSJ,
                                                                         single platform                 and Bloomberg COMBINED




Incredibly Successful        Largest P2P                                 Largest Mobile                  Most Active
Venture Fund                 Exchange                                    Crypto Wallet                   Blockchain
Binance Labs has achieved    >1 million + weekly traders                 TrustWallet                     By Address & Transactions
over 66x return in 3 years
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                Introduction to Binance.US                                                                             CONFIDENTIAL   7




Binance.COM and Binance.US –
two legal entities, one powerful
brand and technology stack

Our relationship with Binance.COM is governed by a series
of service level agreements that authorize: the licensing of
Binance.COM's matching engine and wallet technology, the
licensing of Binance.COM's trademarks, the provision of
certain digital asset custody services, and the provision of
other services
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                     State Licenses and Operations                                                                                   CONFIDENTIAL   8




Binance.US licensed / authorized
to operate in 43 States
as well as 5 U.S. territories

Seeking to obtain money transmitter licensing (MTL) in:

•    New York
•    Texas
•    West Virginia
•    Idaho
•    Vermont
•    Louisiana
•    Hawaii




    U.S. Territories: (1) Puerto Rico; (2) Guam; (3) Northern Mariana Islands; (4) American Samoa; and (5) the U.S. Virgin Islands
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      Historical Growth                                                                       CONFIDENTIAL   9




From 0 to 1 million registered users in 16 months…
… from 1 million to 5 million users in 5 months!
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               Binance.US Key Facts                                                                                     CONFIDENTIAL   10




       Users                                5.3M+                                          2.1M                       1.2M
                                          US Registered Users                      Advanced KYC’d Users             Accounts Funded




Transactions                                 $7.5B                                        $24B                      $205B
                                          Assets under Custody                       Avg. Monthly Trading        Trading Volume To Date
                                                                                           Volume



                                            $284M                                         $92M                     $153M
  Financials                                FY21 Forecasted                             FY21 Forecasted             FY21 Net Income
                                               Revenue                                  Operating Profit



Note: Numbers as of September 1st, 2021
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Current Product Offering
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                Product Superiority                                                                                                         CONFIDENTIAL   12




 Binance.US – named Forbes’ “Best Overall Crypto Exchange” in 2021


                                                            A multitude of USD Fiat on/off
        Advanced trading engine,
                                                                ramps including ACH                                       60+ crypto assets supported
     capable of processing more than
                                                              deposit/withdrawals, card                                     across 117 trading pairs
       1.4 million orders per second
                                                             purchases and wire transfers




                                                                                                                        Robust compliance framework:
        99.99% up time across all                                0 security breaches since                             KYC checks, AML screens, on-chain
       platforms - web, app and API                                launch in October 2019                              monitoring, trade surveillance, risk
                                                                                                                               management, etc.



Forbes link: https://www.forbes.com/advisor/investing/best-crypto-exchanges/
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           Compliance                                                                                                 CONFIDENTIAL   13




Binance.US deploys both human intelligence (~20% of US FTEs in
Compliance and Risk) and artificial intelligence / computing power to
ensure highest level of compliance


Identity verification and KYC   Anti Money Laundering (AML)               Blockchain monitoring and       Trade surveillance, market
   (Know Your Customer)                  screening                                analytics              manipulation, and transaction
          screening                                                                                              monitoring
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Omnichannel Platform                                                                         CONFIDENTIAL   14




                  App                               Web                                API
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      Trading Fees                                                                        CONFIDENTIAL   15




Binance.US consistently offers some of
the lowest trading fees in the market
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          Exchange Take Rate                                                                            CONFIDENTIAL   16




Current fee structure yields ~15 bps from Retail investors
and ~2 bps from Institutional investors
Trading Volume Take Rate (in bps)
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           Retail vs. Institutions                                                                              CONFIDENTIAL   17




Institutions drive majority of trading volume
Retail users drive majority of revenue
Trading Volume ($) – Retail vs. Institutions                            Revenue ($) – Retail vs. Institutions
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Binance.US by the Numbers
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      Binance.US by the numbers                                                                CONFIDENTIAL   19




Average Trading Volumes & Revenues
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      Binance.US by the numbers                                                                                                                      CONFIDENTIAL             20




Accelerated growth in bull markets,
stable volumes in bear markets




                                                                  Source: https://s27.q4cdn.com/397450999/files/doc_financials/2021/q2/Coinbase-Q221-Shareholder-Letter.pdf
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      Binance.US by the numbers                                                                                   CONFIDENTIAL   21




Despite only operating in the U.S., Binance.US’s
trading volumes rival GLOBAL players                                                           In August 2021, Binance.US’s trading
                                                                                               volume was ~5x larger than FTX.US and
                                                                                               ~24% of Coinbase’s global volumes




                                      Using volume / valuation multiple
                                      Binance.US would be valued at:
                                      • $7.7B at FTX
                                      • $13.6B at Coinbase
                                      • $13.7B at Kraken
                                      • $27.7B at Gemini
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              Binance.US by the numbers                                                                                   CONFIDENTIAL   22




Binance.US continues to gain share                                                      In less than a year, Binance.US’s market share has
against the competition                                                                 grown 571% (from 2.2% to 13.6%) and is on track to
                                                                                        become the 2nd largest exchange in the US

Spot Market Volume Market Share (CoinMarketCap)




Source: CoinMarketCap
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           Binance.US by the numbers                                                                CONFIDENTIAL   23




At its core, Binance.US’s exchange business is fundamentally profitable

Total Revenue




Gross Profit




Operating Profit
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          Binance.US by the numbers                                                                CONFIDENTIAL   14




Beyond its profitable operations, Binance.US also captures significant
upside from the appreciation of its corporate crypto assets
Other Income / (Expenses)




                                                   Increases and decreases in corporate
                                                   crypto assets are captured every
                                                   month in mark-to-market accounting
                                                   and classified as “Other Income”

Net Income
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      Binance.US by the numbers                                                                CONFIDENTIAL   25




Binance.US’s cash-flow-positive operations and upside from crypto
asset appreciation creates a very strong corporate balance sheet
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Future Growth Initiatives
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         Growth Strategy                                                                                                     CONFIDENTIAL     27




Beyond increasing market share and continued expansion of broader crypto
ecosystem, Binance.US has targeted strategies for accelerated growth
     Gain licenses and                                  Become undisputed leader                           Leverage available and future
     authorization to operate                           in high-quality digital asset                      .COM technology to quickly
     in ALL 50 US States                                listings                                           launch new products and
     • Obtaining outstanding                            • Today FTX = 22, Binance.US = 60,                 services
       licenses increases                                 Kraken = ~90, Coinbase = ~100,                   • Spot trading represents only 33% of
       addressable market by 25%                          Binance.com = 500+                                 revenue/profit in .COM business
                                                        • Leverage tech (e.g. Binance Smart                • Menu of Binance.COM's expansive
                                                          Chain) and relationships to offer                  product and service offering ready to
                                                          exclusive new coins and tokens                     launch


     Strategic and expanded                             Re-image retail experience
     focus on Institutional                             and accelerate customer
     Investors                                          acquisition efforts
     • Combination of best liquidity                    • Customer-centric design
       and lowest fees positions .US                    • ROI positive marketing investments
       well to gain market share
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             Major Initiative Planned                                                                                             CONFIDENTIAL   28




Future Product Expansion
By leveraging Binance.COM’s existing technology stack, Binance.US can effectively launch key products
and services in as little as a few months (subject to legal/regulatory approval and compliance)



        Yield Products                                Binance.US Card                                       Binance.US Pay
         • Staking                                     • Visa/Mastercard for                                • Peer-to-peer payments
                                                         cryptocurrencies




        Derivatives                                   NFT Marketplace                                       Blockchain Products
         •   Margin trading                            • Cryptographic tokens for                           •   Mining pools
         •   Deliverable futures                         unique assets                                      •   Liquidity pools
         •   Options                                                                                        •   Crypto loans
         •   Perpetual swaps                                                                                •   Swaps
                                                                                                            •   Mini-Apps/dApps
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        Major Initiative Planned                                                                                      CONFIDENTIAL   29




Goals for Seed Round


   Diversify cap table with world-class investors                                Add new, independent members to the Board
   who can advise and guide the next phase in                                    to improve overall business governance and
   .US growth                                                                    oversight




   Gain access to a broader “network of friends”
   to support business growth and improve                                        Secure strategic investments from existing
   government / regulator / business community                                   and perspective customers and partners
   relationships
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       Major Initiative Planned                                                                                                 CONFIDENTIAL      30




Use of Seed Capital

    Fund product and service expansions                                             Invest in securing and keeping Top Talent
     • Build / Buy / Partner                                                           • Build out Executive Team with All-Stars
                                                                                         • Employ the world’s best Risk, Compliance, and
                                                                                             Legal teams
                                                                                       • Invest in Key Business Initiatives: Institutional Team
    Corporate Development / M&A Activity                                               • Invest in Key Business Capabilities: Design team,
     • E.g. state licenses, derivatives platform, custody                                 Marketing, Data and Analytics
       platform, potential DeFi/compliance JV, etc.



    Make strategic, ROI-positive investments in
    customer acquisition and retention

     • Invest in Marketing and Brand: paid media, referrals,
       branding, advertising, partnerships, community,
       infrastructure, tools, competitive intelligence, etc.
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             Risk Factors                                                                                                                      CONFIDENTIAL   26




Risks…                                                                                  and Mitigation Strategies

• Industry Risk                                                                         • Pursue Product and Customer Diversification
  Potential for extended crypto bear market                                                 Expand revenue and profit pools with new products and services


• Regulatory/Legal Risk                                                                 • Invest in Risk and Compliance Capabilities (i.e.,
  US regulatory actions could result in legal actions,                                    people, AI, tools, and processes)
  corporate liability, registration requirements, loss of                                   Build world-class Legal, Risk, and Compliance departments
  licenses, etc.



• Security Risk                                                                         • Leverage World Class Security
  Constant threat of hackers                                                                Ensure highest level of security across entire platform



• Competition                                                                           • Hire Global Talent
  Speed of execution is critical; need to stay ahead of                                     Attract hungry professional who can out maneuver
  competition                                                                               and out hustle the competition
